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                    EXHIBIT 1
                               Case 1:23-cv-05840-JPB Document 24-2 Filed 02/20/24 Page 2 of 6
P.:Jgc 1
Tw itter Terms of Service
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                            Terms ofof Service
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P.:Jgc 2
Twitter Terms of Service
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                                                                            5. Disclaimers
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                                                                            The Services
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                                                                                                                                  Content are at your own risk. Youl.Olderslandand
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                                                                                                   on an  “AS IS” and “AS AVAILABLE” basis. The “Twitter Entities” refers to X Corp., its parents,
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                                                                            the Services or any Content; (ii) any harm to your computer system, loss of data, or other harm that results from your
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                                                                            access to or use of the Services or any Content; (iii) the deletion of, or the failure to store or to transmit, any Content and
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Twitter Terms of Service
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                                                                                         The laws of the State of California, excluding its
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                                                                                                                                        ~schooc:eofl8wp,c,v,soons,    will govern these Terms and any dispute that
                                                                                         arises between you and us. All disputes related to these Terms or the Services will be brought solely in the federal or
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                                                                                         state courts located
                                                                                         Sta!ecourts          in San Francisco County, California, United States, and you consent to personal jurisdiction and
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                                                                                         Effective: May
                                                                                         Effective; May 18, 2023
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                                                                                                     are an agreement between you and Twitter International Unlimited Company (Co. number 503351, VAT
                                                                                         numberlE98031750).anlnshcompanywrthrtsf"!,IISteradofficeatOneCi.mberlandPlace,Ffl'oanStreetOubl,n2,002
                                                                                         number IE9803175Q), an Irish company with its registered office at One Cumberland Place, Fenian Street Dublin 2, D02
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                                                          1. Who May Use the Services

                                                          2. Privacy
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                                                                                         1. Who May
                                                                                                May Use
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                                                                                         You may use the Services only if you agree to form a binding contract w,lhusandarenotaper-,bam>dfromr-..,r,g
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